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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                     Plaintiffs,                   Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                  Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as           Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., et al.,

                     Plaintiffs,                   Consolidated with
                                                   Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                     Defendant.

DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR MOTION TO EXPEDITE

       Pursuant to this Court’s inherent authority to manage the cases on its docket, see Woodson

v. Surgitek, 57 F.3d 1406, 1417 (5th Cir. 1995), Attorney General Jeff Landry, on behalf of the

State of Louisiana, Secretary of State Kyle Ardoin, Clay Schexnayder, Speaker of the Louisiana

House of Representatives, and Patrick Page Cortez, President of the Louisiana Senate, each in their

respective official capacities (collectively “Defendants”) move this Court to expedite its decision

on Defendants’ contemporaneously-filed Emergency Motion to Cancel Hearing and to Enter a

Scheduling Order for Trial on the Merits. Due to the fast-approaching remedial hearing on

Plaintiffs’ Motion for Preliminary Injunction, a response by Plaintiffs is respectfully requested by

Wednesday, August 30th, and a decision is respectfully requested by Friday, September 8th.
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                                         BACKGROUND

       On July 17, 2023, the Court ordered “that the preliminary injunction hearing stayed by the

United States Supreme Court, and which stay has been lifted, be and is hereby reset to October 3-

5, 2023, at 9:00 a.m.” (ECF No. 250). The Court further directed that “[t]he parties shall meet and

confer and jointly submit a proposed pre-hearing scheduling order on or before Friday July 21,

2023.” Id. The parties met and conferred in good faith and were unable to reach complete

agreement with respect to a schedule to govern the remedial proceedings and, therefore, the

Plaintiffs and the Defendants each filed their own proposed scheduling orders. See (ECF Nos. 255

& 256). Although there was not complete agreement between the parties, the dates were, in many

respects, similar. Compare (ECF No. 256 at 2) with (ECF No. 255-1 at 1). The primary

disagreement between the parties was, and still is, Plaintiff’s assertion that they are permitted, and

therefore intend, to submit a new remedial plan for the Court’s consideration. See (ECF No. 255

at 3-7). Many, but not all, of the divergent dates and deadlines stem from that fundamental

disagreement.

       On August 22, 2023, the United States Court of Appeals for the Fifth Circuit set Defendants’

appeal of the underlying preliminary injunction order for oral argument on October 6, 2023.

Robinson v. Ardoin, No. 22-30333 (5th Cir.). It is now August 24, 2023, and, at the time of this

filing, this Court has yet to issue a scheduling order in this matter. Furthermore, many of the

deadlines in Plaintiffs’ and Defendants’ schedules have passed. Plaintiffs’ proposed schedule had

August 11th as the date the parties would submit “any proposed plans” and as the deadline to

exchange witness lists. (ECF No. 255 at 5). Defendants, jointly, proposed August 4th as the

deadline for Plaintiffs’ supplemental expert reports and disclosures and August 18 as the date to

exchange fact and witness lists. (ECF No. 255-2 at 1).




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       Therefore, as outlined in Defendants’ Emergency Motion, there is no longer sufficient time

to conduct a remedial hearing while properly protecting the rights of Defendants to offer a robust

defense.

       I.      The Court Should Grant this Motion and Issue an Opinion on the
               Contemporaneously Filed Emergency Motion Forthwith.

       This Court has the inherent power “to control the disposition of the causes on its docket

with economy of time and effort for itself, for counsel, and for the litigants.” Landis v. N. Am. Co.,

299 U.S. 248, 254 (1936); Woodson, 57 F.3d at 1417. Although Defendants are mindful of the

Court’s substantial docket, a swift ruling on the Emergency Motion is necessary for Defendants to

protect their rights. Therefore, the Court should invoke its power to control its docket by expediting

a decision on the Emergency Motion.

       Currently, the underlying order granting a preliminary injunction is on appeal and oral

argument is just over 6 weeks away. Similarly, the scheduled remedial proceeding is itself only 6

weeks away. Given the compressed timeline, Defendants respectfully maintain a prompt ruling by

this Court is warranted and necessary.

                                          CONCLUSION

       For the aforementioned reasons, Defendants respectfully request that the Court grant the

motion, order Plaintiffs to file a response by close of business by Wednesday, August 30th, and

issue an opinion on the Defendants’ Emergency Motion by close of business on Friday, September

8th.



                                                Respectfully submitted,


 /s/ John C. Walsh                                    /s/ Phillip J. Strach
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 25th day of August 2023, the foregoing has been filed with the
Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of record.

                                              /s/ Jeffrey M. Wale
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